Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.1    Page 1 of 35



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN


  FMIO, INC., a Michigan corporation and      )
  RICHARD A. GARST,                           )
                                              )
                       Plaintiffs,            ) Case No.
                                              )
                v.                            ) HONORABLE
                                              )
  TOWNSHIP OF SUMMERFIELD, MICHIGAN, )
  a Michigan municipal corporation, KEVIN R. )
  IOTT in his official and individual         )
  capacities, TAMMY BLEASKA, in her official )
  and individual capacities, JOAN             )
  WIEDERHOLD, in her official and individual )
  capacities, DALE WAGENKNECHT, in his )
  official and individual capacities,         )
  JAMES V. SEEGERT, in his official and       )
  individual capacities, AMY REITER, in her )
  official and individual capacities, RICHARD )
  KORALESKI, in his official and individual )
  capacities, DAVID GRUDE, in his official    )
  and individual capacities, JOSEPH           )
  STRANGER, in his official and individual    )
  capacities, LINDA DIESING, in her official )
  and individual capacities, and MICHAEL      )
  STRAHAN, in his official and individual     )
  capacities, jointly and severally,          )
                                              )
                       Defendants.            )
  ________________________________________________________________

                            COMPLAINT FOR DAMAGES
                             AND INJUNCTIVE RELIEF


         Plaintiffs FMIO, Inc. and Richard A. Garst, by and through their attorneys,

  The Victor Firm, PLLC, hereby state for their complaint against defendants the

  Township of Summerfield, Michigan, Kevin R. Iott, in his official and individual

  capacities, Tammy Bleaska, in her official and individual capacities, Joan
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.2     Page 2 of 35



  Wiederhold, in her official and individual capacities, Dale Wagenknecht, in his

  official and individual capacities, James V. Seegert, in his official and individual

  capacities, Amy Reiter, in her official and individual capacities, Richard Koraleski,

  in his official and individual capacities, David Grude, in his official and individual

  capacities, Joseph Stranger, in his official and individual capacities, Linda

  Diesing, in her official and individual capacities, and Michael Strahan, in his

  official and individual capacities, jointly and severally, as follows:

                                     JURISDICTION

         1.     This is a civil action:

                (a)     Arising under the Constitution and laws of the United States

  and this Court has original federal jurisdiction pursuant to 28 U.S.C. §1331;

                (b)     To redress the deprivation, under the color of law, of the

  rights, privileges and immunities of plaintiffs secured by the Constitution of the

  United States providing for equal rights of its citizens and of all persons of any

  jurisdiction in the United States, and this Court has original jurisdiction pursuant

  to 28 U.S.C. §1343(3); and

                (c)     For declaratory judgment and injunctive relief pursuant to 42

  U.S.C. §1983 and this Court has jurisdiction pursuant to 28 U.S.C. §1343(4).

         2.     The principal events giving rise to the claims stated herein occurred

  in this District and venue is therefore proper in this District pursuant to 28 U.S.C.

  §1391(b).

         3.     This Court has authority to issue declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.




                                            -2-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09             PageID.3     Page 3 of 35



                                    THE PARTIES

         4.     Plaintiff FMIO, Inc. (hereinafter “FMIO”) is a Michigan corporation

  organized and existing under the laws of Michigan, with its principal office and

  place of business located in Monroe County, Michigan.

         5.     Richard A. Garst is an individual who resides in Monroe County,

  Michigan.

         6.     Defendant the Township of Summerfield, Michigan ("Summerfield

  Township") is a Michigan municipal corporation existing in Monroe County and

  organized under the laws of the State of Michigan.

         7.     Defendant Kevin R. Iott is the Summerfield Township Supervisor

  and a resident of Summerfield Township, Monroe County, Michigan, and is being

  sued in his individual and official capacities. As Supervisor, defendant Iott is the

  chief administrative and executive officer of Summerfield Township. By virtue of

  his office, defendant Iott is a policy-making and decision-making official for

  Summerfield Township.

         8.     Defendant Tammy Bleaska is the Summerfield Township Clerk and

  a resident of Summerfield Township, Monroe County, Michigan, and is being

  sued in her individual and official capacities. By virtue of her office, defendant

  Bleaska is a policy-making and decision-making official for Summerfield

  Township.

         9.     Defendant Joan Wiederhold is the Summerfield Township

  Treasurer and a member of the Summerfield Township Planning Commission,

  and a resident of Summerfield Township Township, Monroe County, Michigan.




                                          -3-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.4    Page 4 of 35



  Defendant Wiederhold is being sued in her individual and official capacities. By

  virtue of her office, defendant Wiederhold is a policy-making and decision-making

  official for Summerfield Township.

         10.    Defendant James V. Seegert is a Summerfield Township Trustee

  and a resident of Summerfield Township, Monroe County, Michigan, and is being

  sued in his individual and official capacities. By virtue of his office, defendant

  Seegert is a policy-making and decision-making official for Summerfield

  Township.

         11.    Defendant Amy Reiter is the Chairperson of the Summerfield

  Township Planning Commission and Chairperson of the Summerfield Zoning

  Board of Appeals, and is a resident of Summerfield Township, Monroe County,

  Michigan. Defendant Reiter is being sued in her individual and official capacities.

  By virtue of her office, defendant Reiter is a policy-making and decision-making

  official for Summerfield Township.

         12.    Defendant Richard Koraleski is a member of the Summerfield

  Township Planning Commission and is a resident of Summerfield Township,

  Monroe County, Michigan, and is being sued in his individual and official

  capacities. By virtue of his office, defendant Koraleski is a policy-making and

  decision-making official for Summerfield Township.

         13.    Defendant David Grude is a member of the Summerfield Township

  Planning Commission and is a resident of Summerfield Township, Monroe

  County, Michigan, and is being sued in his individual and official capacities. By




                                           -4-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.5    Page 5 of 35



  virtue of his office, defendant Grude is a policy-making and decision-making

  official for Summerfield Township.

         14.    Defendant Joseph Stranger is a member of the Summerfield

  Township Planning Commission and is a resident of Summerfield Township,

  Monroe County, Michigan, and is being sued in his individual and official

  capacities. By virtue of his office, defendant Stranger is a policy-making and

  decision-making official for Summerfield Township.

         15.    Defendant Linda Diesing is a member of the Summerfield Township

  Zoning Board of Appeals, and is a resident of Summerfield Township, Monroe

  County, Michigan, and is being sued in her individual and official capacities. By

  virtue of her office, defendant Diesing is a policy-making and decision-making

  official for Summerfield Township.

         16.    Defendant Michael Strahan is a member of the Summerfield

  Township Zoning Board of Appeals and is a resident of Summerfield Township,

  Monroe County, Michigan, and is being sued in his individual and official

  capacities. By virtue of his office, defendant Strahan is a policy-making and

  decision-making official for Summerfield Township.

                              FACTUAL ALLEGATIONS

         17.    The property that is the subject of this complaint is an

  approximately one (0.927) acre parcel of real property, located at 4019 Sylvania-

  Petersburg Road, Summerfield Township, in Monroe County, Michigan (the

  “Property”) (a copy of the legal description of the Property is attached hereto as

  Exhibit 1).




                                          -5-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.6    Page 6 of 35



         18.     The property is zoned for local commercial uses pursuant to the

  Summerfield Township zoning ordinances.

         19.     FMIO is the fee title owner of the Property.

         20.     Plaintiff Richard Garst is an agent of FMIO, and has the authority to

  act on its behalf.

         21.     FMIO purchased the Property to utilize it for all the uses allowed by

  Summerfield Township for property located in the local commercial zoning

  district, including, but not limited to, the construction of a business dwelling for

  the purpose of selling farm produce, as well as all other generally recognized

  local commercial purposes.

         22.     The Property has access to and/or otherwise abuts a public

  highway, which is Sylvania-Petersburg Road.

         23.     On or about November 2000, plaintiff Garst attended a public

  meeting of the Summerfield Township Board, and during the portion dedicated to

  the discussion of the Fire Report, Garst inquired about an alleged child

  pornography incident which may have occurred at the Summerfield Township

  Fire Hall (“Fire Hall”).

         24.     The Summerfield Township Board advised Garst that “this was not

  the proper time” to discuss the alleged child pornography incident and refused to

  discuss the matter. Additionally, Garst was told that in the future, he should ask

  to be on the agenda if he wanted to speak at Township Board meetings (a copy

  of the minutes of the November 8, 2000 meeting of the Summerfield Township

  Board is attached hereto as Exhibit 2).




                                            -6-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.7     Page 7 of 35



         25.    On April 11, 2002, a computer located in the Fire Hall was

  confiscated by the Michigan State Police as a result of an on-going investigation

  conducted by Detective Alison D. King of alleged child pornography incidents

  occurring at the Fire Hall (a copy of an article from The Monroe Evening News is

  attached hereto as Exhibit 3).

         26.    When the investigation of alleged child pornography incidents

  occurring at the Fire Hall began, Nick Lucas was the Fire Chief for Summerfield

  Township. At that time, Zelda Lucas, who is the mother of Nick Lucas, was the

  Supervisor of Summerfield Township.

         27.    On or about April 2002, Garst attended a regular meeting of the

  Summerfield Township Board, and inquired about the confiscation of a computer

  at the Fire Hall and the allegations of child pornography incidents occurring at the

  Fire Hall. The Summerfield Township Board refused to provide any information

  regarding the confiscation of the Fire Hall’s computer or the allegations of child

  pornography incidents occurring at the Fire Hall, at which time Garst asked the

  members of the Summerfield Township Board to resign.

         28.    Garst was concerned about the alleged child pornography incidents

  occurring at the Fire Hall and believed that the Summerfield Township Board

  needed to address the concerns of its residents, and at the very least, inform the

  residents what the Summerfield Township Board was doing to protect the

  children in the community.

         29.    On or about April 2002, Garst sought to circulate recall petitions,

  seeking to recall some of the members serving on the Summerfield Township




                                          -7-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.8     Page 8 of 35



  Board, including then-Supervisor Zelda Lucas, defendant Clerk Tammy

  Bleashka, defendant Treasurer Joan Wiederhold and then-Trustee Fred Smith.

          29.   Before Garst began circulating the recall petitions, he was asked by

  Detective King to hold off on circulating the recall petitions until she could

  complete her investigation of the pornography allegations occurring at the Fire

  Hall.

          30.   Although the language on the recall petitions was approved at

  clarity hearings which were held on May 22 and June 4, 2002, Garst complied

  with Detective King’s request and allowed the six-month deadline to lapse

  without collecting any signatures.

          31.   On March 17, 2003, Garst attended a Summerfield Township Board

  meeting where he stated that there were certain Summerfield Township firemen

  that should not be around children because the Federal Bureau of Investigations

  (“the FBI”) investigation of alleged child pornography incidents occurring at the

  Fire Hall was still an open investigation.

          32.   When Garst received an approved written copy of the meeting

  minutes of the March 17, 2003 Summerfield Township Board meeting, he

  discovered that the minutes reflected that he had suggested that Randy LaRocca

  was one of the individuals under investigation by the FBI.

          33.   Garst did not suggest that Randy LaRocca was under investigation

  by the FBI; instead, Garst said at the March 17, 2003, Township Board meeting

  that Randy LaRocca was the only person at the Fire Hall he could trust (a copy of




                                           -8-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.9     Page 9 of 35



  the minutes of the March 17, 2003 meeting of the Summerfield Township Board

  is attached hereto as Exhibit 4).

         34.    The change in the minutes was a deliberate act by defendants

  designed to chill Garst from exercising his First Amendment rights to speak at

  public meetings and petition the government for redress of grievances.

         35.    In 2000, Garst entered into a lease agreement with Summerfield

  Township to lease approximately 72 acres of farm property located on Ida West

  Road for the amount of $6,550.00 per year, with the lease guaranteed to run

  through at least December 31, 2003 (a copy of the lease agreement is attached

  hereto as Exhibit 5).

         36.    On September 17, 2003, Garst received a letter from Summerfield

  Township informing him that as a result of interest shown by other parties, the

  Summerfield Township Board decided not to renew his lease agreement.

         37.    However, on September 25, 2003, the Summerfield Township

  Board placed an advertisement in The Independent seeking bids for

  approximately 69 of 77 acres of farm property located on Ida West Road (a copy

  of this newspaper advertisement is attached hereto as Exhibit 6).

         38.    On November 5, 2003, the Summerfield Township Board sent a

  letter to Howard Keinath to inform him that he was the highest bidder on the 69

  acres of farm property located on Ida West Road (a copy of this letter is attached

  hereto as Exhibit 7).

         39.    On March 2, 2004, Summerfield Township and Howard Keinath

  entered in a lease agreement for 67 acres of farm property located on Ida West




                                         -9-
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.10     Page 10 of 35



   Road for the amount of $7,705.00 per year, with the term of the lease being from

   March 2, 2004 through December 31, 2006 (a copy of this lease agreement is

   attached hereto as Exhibit 8).

          40.    On May 4, 2008, Garst entered into a lease agreement with

   Summerfield Township for approximately 67 acres of farm property located on

   Ida West Road from Summerfield Township for the amount of $12,797.00 per

   year, with a guaranteed lease period through December 31, 2008 (a copy of this

   lease agreement is attached hereto as Exhibit 9).

          41.    Defendants’ refusal to renew Summerfield Township’s lease

   agreement with Garst was a deliberate act in retaliation for Garst having sought

   to recall certain members of the Summerfield Township Board.

          42.    The renewal of the lease in 2008 for terms that were far more

   favorable to Summerfield Township than that for which the previous lease

   agreements provided was a deliberate act to retaliate against plaintiffs for

   exercising their First Amendment rights.

          43.    Defendants committed further acts of retaliation against plaintiffs for

   Garst’s exercise of his rights as a citizen to recall certain members of the

   Summerfield Township Board.

          44.    On October 28, 2004, Zelda Lucas, then-Supervisor of Summerfield

   Township, and defendant Kevin R. Iott, then-candidate for the office of

   Supervisor of Summerfield Township, served a personal protection order on

   Garst that prevented him from attending Summerfield Township Board meetings.




                                          - 10 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.11     Page 11 of 35



           45.   Sometime in late 2004 or early 2005, Nick Lucas, the Fire Chief of

   Summerfield Township, wrongfully filed assault charges against Garst.

           46.   Garst was acquitted of these false charges on July 12, 2005, after a

   jury trial.

           47.   Garst was forced to incur considerable expenses to fight against

   the false accusations made by defendants and the Fire Chief.

           48.   On February 22, 2005, Garst received a letter from Peter Fales, an

   attorney for David Kottke, who serves as the cemetery sexton for Summerfield

   Township, in which Garst was advised that Kottke was upset over a slanderous

   comment attributed to Garst in the minutes of the August 16, 2004 meeting of the

   Summerfield Township Board (a copy of the February 22, 2005 correspondence

   is attached hereto as Exhibit 10).

           49.   Garst responded to Fales’ letter on March 15, 2005, and explained

   that he had not made the slanderous comment, that he asked the Summerfield

   Township Board to correct the meeting minutes, and that the issue of incorrect

   statements being printed by defendant Clerk Bleaska in the meeting minutes of

   the Summerfield Township Board was an on-going issue which has been

   acknowledged and addressed by the Summerfield Township Board (a copy of

   Garst’s March 15, 2005 correspondence to Fales is attached hereto as Exhibit

   11).

           50.   The false statements attributed to Garst in the minutes was a

   deliberate act by defendants designed to chill Garst from exercising his First




                                          - 11 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09             PageID.12     Page 12 of 35



   Amendment rights to speak at public meetings and petition the government for

   redress of grievances.

          51.    On May 15, 2006, the Summerfield Township Board voted to

   increase the application fee for site plan review from $300.00 to $2,000.00,

   effective July 1, 2006 (a copy of the minutes of the May 15, 2006 meeting of the

   Summerfield Township Board is attached hereto as Exhibit 12).

          52.    At the time the ordinance was passed, FMIO was in the process of

   developing the plans necessary to demolish its old produce stand and replace it

   with a new one. Approval of the site plan for the new produce stand was critical

   for FMIO because the setback requirements for commercial buildings had

   changed since the old produce stand was constructed and FMIO wanted to

   maintain its non-conforming status.

          53.    On June 29, 2006, at 9:30 a.m., Garst called Jack Lange, building

   inspector of Summerfield Township, to inquire as to where the site plan review

   packet needed to be delivered. Lange advised Garst that the site plan review

   packet needed to be delivered to the Summerfield Township Hall.

          54.    On June 29, 2006, Garst delivered FMIO’s site plan review packet

   for the new produce stand to the Summerfield Township Hall. The site plan

   review packet contained: (1) a cover letter; (2) a $300.00 check for the

   application fee; (3) the application for site plan review; (4) the engineered site

   plan for the proposed produce stand; (5) a report from George B. Warnke, Jr.,

   Registered Land Surveyor; (6) a description of the proposed new produce stand;




                                           - 12 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09             PageID.13   Page 13 of 35



   and (7) a demolition permit for the old produce stand (a copy of the site plan

   review packet is attached hereto as Exhibit 13).

          55.    Sometime in September 2006, after Garst had not heard anything

   from Summerfield Township regarding FMIO’s application for site plan review,

   Garst spoke with defendant Amy Reiter, Chairperson of the Summerfield

   Township Planning Commission, and inquired into the progress of the site plan

   application which he and FMIO had submitted.

          56.    Defendant Reiter assured Garst that she would check into the

   progress of FMIO’s site plan application and call him back to inform him of the

   progress of FMIO’s site plan application. Garst did not receive any information

   as to the progress of FMIO’s site plan application from defendant Reiter or any

   other defendant or other Summerfield Township official.

          57.    On November 13, 2006, Summerfield Township informed Garst that

   it did not have the check which FMIO had submitted with its site plan review

   application packet on June 29, 2006.

          58.    FMIO immediately issued a certified check in the amount of

   $300.00 to Summerfield Township on that very same day, November 13, 2006 (a

   copy of the certified check is attached hereto as Exhibit 14).

          59.    On or about November 20, 2006, Summerfield Township informed

   Garst that it could not find FMIO’s site plan application.

          60.    On or about December 2006, Summerfield Township informed

   Garst that it found the engineered drawings of FMIO’s new proposed produce




                                           - 13 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.14     Page 14 of 35



   stand, but it still was unable to find the site plan application which FMIO had

   submitted.

          61.    Throughout 2007, Garst continued to inquire into the progress of

   FMIO’s site plan application.

          62.    Defendant Township Supervisor Kevin R. Iott told Garst that if he

   wanted to get FMIO’s new produce stand approved, FMIO had to resubmit

   everything along with the new $2,000.00 application fee.

          63.    As of the date of this complaint, defendants have still wrongfully

   refused to process plaintiffs’ application for site plan review, a ministerial act

   which they cannot refuse to do.

          64.    Plaintiffs’ proposed use of the Property is a reasonable and

   a principal permitted use allowed by the Summerfield Township Zoning

   Ordinance.

          65.    Plaintiffs’ application for site plan review was completed and

   prepared in accordance with the Summerfield Township ordinances in

   effect at the time plaintiffs submitted their application for site plan review.

          66.    Defendants’ actions in wrongfully refusing to process plaintiffs’

   application for site plan review have deprived plaintiffs of the use of their land

   and have damaged plaintiffs.

          67.    On September 15, 2008, the Summerfield Township Board adopted

   a new Dangerous Building Ordinance.

          68.    Section IV (D) of the new Dangerous Building Ordinance provides:

                 Service of Notice. The notice shall be in writing and
                 shall be served upon the person to whom the notice is



                                            - 14 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09          PageID.15     Page 15 of 35



                directed either personally or by certified mail, return
                receipt requested, addressed to the owner or party in
                interest at the address shown on the tax records. If a
                notice is served upon a person by certified mail, a
                copy of notice shall also be posted upon a
                conspicuous part of the building or structure. The
                notice shall be served upon the owner or party in
                interest at least 10 days before the date of the hearing
                included in the notice.

   (a copy of Summerfield Township’s Dangerous Building Ordinance is attached

   hereto as Exhibit 15).

          69.   On April 4, 2009, Garst received a letter from Michael Mihalec,

   Ordinance Enforcement Officer for Summerfield Township, advising him that

   there would be a dangerous building inspection and hearing to be held at 4019

   Sylvania-Petersburg Road, on Wednesday, April 22, 2009 at 10:00 a.m. (a copy

   of Mihalec’s April 4, 2009 correspondence to Garst is attached hereto as Exhibit

   16).

          70.   There was no filing of a written complaint and no notice was posted

   at the 4019 Sylvania-Petersburg Road address as required by the Summerfield

   Township Dangerous Building Ordinance.

          71.   On April 13, 2009, Garst sent Summerfield Township a

   written request to be put on the agenda for the April 20, 2009, meeting of

   the Summerfield Township Board.

          72.   The printed agenda for the April 20, 2009, Summerfield Township

   Board meeting set forth that Garst was scheduled to speak during the New

   Business portion of the meeting.




                                         - 15 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.16    Page 16 of 35



          73.    During the April 20, 2009 Summerfield Township Board meeting,

   Garst asked the Summerfield Township Board as to the status of FMIO’s site

   plan review application and attempted to present evidence that the site plan

   review application was submitted almost three years earlier. However, Conly K.

   Crossley, Summerfield Township attorney, refused to allow Garst to discuss the

   issue, and told Garst that he could present his evidence at the “Dangerous

   Building Hearing” which was to be held on April 22, 2009 (a copy of the article in

   The Independent setting forth this discussion is attached hereto as Exhibit 17).

          74.    When Garst was told that he could not discuss the issue that

   FMIO’s site plan review application had been pending without any action for

   almost three years, he immediately stopped discussing the issue.

          75.    However, since Garst had not used his allotted time to speak, he

   brought to the attention of the Summerfield Township Board that a commercial

   trucking business and/or commercial trucking terminal was wrongfully operating

   and/or being allowed to operate in Summerfield Township (Exhibit 17).

          76.    Garst informed the Summerfield Township Board that the

   commercial trucking business and/or commercial trucking terminal was located

   on property which was leased by Mark LaRocca, the Summerfield Township

   Constable, who was defendant Supervior Iott’s brother-in-law, and that defendant

   Supervisor Iott, who drove a truck for Mark LaRocca’s business, parked the truck

   which he drove at the illegal commercial trucking business and/or commercial

   trucking terminal.




                                         - 16 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.17    Page 17 of 35



          77.    Summerfield Township attorney Crossley stopped Garst from

   speaking, and again told him that he could not bring this forward at a public

   meeting, but instead, was limited to speaking only at the “Dangerous Building

   Hearing.” Summerfield Township attorney Crossley then declared that the

   “public comment” was over (Exhibit 17).

          78.    Defendants’ actions wrongly violated Garst’s rights under the First

   Amendment to the United States Constitution to speak at a public meeting and

   petition the government for redress of grievances.

          79.    On Wednesday, April 22, 2009, at 10:00 a.m., defendant

   Supervisor Iott, defendant Clerk Bleaska, defendant Trustee Wagenknecht,

   Township Building Inspector Jack Lange, Township Fire Chief Nick Lucas,

   Township attorney Crossley and purported hearing officer Paul Delise showed up

   at plaintiffs’ property at 4019 Sylvania-Petersburg Road for the “Dangerous

   Building Hearing.”

          80.    Defendants had not provided plaintiffs with any notice of which

   individuals would attend this hearing, or how it would be conducted, or even of

   the charges against plaintiffs which gave rise to this hearing.

          81.    Garst asked Township attorney Crossley if anyone had ever posted

   a notice on the alleged “dangerous building,” as required by Section IV(D) of the

   Summerfield Township Dangerous Building Ordinance.

          82.    Summerfield Township attorney Crossley verified with the others

   present for the “hearing” that no notice had ever been posted on the building.




                                          - 17 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.18     Page 18 of 35



            83.   Once this had been established, Garst advised those present on

   behalf of Summerfield Township that they had failed to comply with the

   requirements of the very ordinance which they had passed or for which they had

   the duty to enforce.

            84.   Once they learned this information, those present on behalf of

   Summerfield Township at plaintiffs’ property for the alleged “Dangerous Building

   Ordinance” left plaintiffs’ property, and as they left, Summerfield Township

   attorney Crossley turned back to taunt Garst by saying that next time, “they

   would do it right” (Exhibit 17).

            85.   Even though there are many other structures which would fall under

   the provisions of the Summerfield Township Dangerous Building Ordinance,

   Summerfield Township has never taken any action to enforce the ordinance

   against those property owners, or any property owner other than plaintiffs.

            86.   On April 29, 2009, a meeting was held at the Summerfield

   Township Hall to discuss how to resolve the issue of FMIO’s site plan review

   application, on which defendants had failed to take any action for almost three

   years.

            87.   In attendance at this meeting were defendant Supervisor Iott,

   defendant Planning Commission Chair Reiter, Township building inspector

   Lange, Township enforcement officer Mihalec and Township attorney Crossley.

   This meeting did not include the Township Clerk, Township Treasurer, or either

   of the two Township trustees.




                                          - 18 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09            PageID.19       Page 19 of 35



            88.   No notice of a special Township meeting had ever been posted by

   defendants.

            89.   On April 30, 2009, defendant Reiter drafted a letter to Garst which

   stated that, in an attempt to resolve the issue of FMIO’s unprocessed site plan

   review application, Summerfield Township would require FMIO to: (1) reapply for

   site plan review; (2) pay an application fee of $300; (3) be financially responsible

   for outside consulting fees; (4) after approval from the Summerfield Township

   Planning Commission, obtain a building permit from the Summerfield Township

   building inspector; (5) be financially responsible for any fees which the

   Summerfield Township building inspector incurred; and (6) tear down the old

   produce stand within 90 days of receiving a building permit for the new produce

   stand (a copy of defendant Reiter’s April 30, 2009 letter to Garst is attached

   hereto as Exhibit 18).

            90.   The procedures, reviews and fees set forth in defendant Reiter’s

   April 30, 2009, letter to Garst do not reflect the procedures, reviews or fees which

   any other resident of Summerfield Township has had to follow when submitting

   an application for site plan review, whether the site plan was submitted in 2006 or

   in 2009.

            91.   The April 30, 2009 letter to Garst was never discussed or approved

   at a public meeting of the Summerfield Township Board prior to its delivery to

   Garst.




                                          - 19 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.20     Page 20 of 35



         92.    The Summerfield Township Board did not discuss or approve the

   correspondence to Garst until the regular public meeting of the Summerfield

   Township Board on May 18, 2009.

         93.    Defendant Supervisor Iott does not have the authority to change,

   modify or add to the procedures for an application for site plan review without

   obtaining prior approval of the Summerfield Township Board.

         94.    The Chairperson of the Summerfield Township Planning

   Commission does not have the authority to change, modify or add to the

   procedures for an application for site plan review without obtaining prior approval

   of the Summerfield Township Board.

         95.    The Summerfield Township building inspector Jack Lange does not

   have the authority to change, modify or add to the procedures for an application

   for site plan review without prior approval of the Summerfield Township Board.

         96.    The Summerfield Township enforcement officer Michael Mihalec

   does not have the authority to change, modify or add to the procedures for an

   application for site plan review without prior approval of the Summerfield

   Township Board.

         97.    The Summerfield Township attorney Conly K. Crossley does not

   have the authority to change, modify or add to the procedures for an application

   for site plan review without prior approval of the Summerfield Township Board.

         98.    On May 15, 2009, Garst submitted to Summerfield Township a

   request under the Michigan Freedom Of Information Act (“FOIA”), MCL 15.231 et

   seq., in which he requested: (1) a copy of all minutes of the April 29, 2009




                                          - 20 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.21     Page 21 of 35



   meeting; (2) the names of the individuals, including the members of the

   Summerfield Township Board, who attended the April 29, 2009 meeting; (3) a

   copy of the posted notice of the special meeting on April 29, 2009; and (4) a copy

   of all correspondence between the township attorney(s) and Summerfield

   Township regarding the April 29, 2009 special meeting (a copy of Garst’s FOIA

   request is attached hereto as Exhibit 19).

          99.    On May 20, 2009, Garst received a letter from Summerfield

   Township attorney Crossley, stating that the Summerfield Township was

   unable to grant his FOIA request because:

                 [t]he April 29, 2009 meeting of the Township
                 Supervisor, Building Inspector, Planning Chairperson,
                 Ordinance Enforcer and Attorney to discuss
                 numerous pending issues does not meet the definition
                 of either a “public body” or “meeting” as set forth in
                 MCLA 16.262. The minutes, transcripts, notes,
                 posting you have requested do not exist. Pursuant to
                 MCLA 15.233 the Act does not require a public body
                 to make a compilation, summary or report of
                 information, or to create a new public record.

   (a copy of Crossley’s May 20, 2009 to Garst is attached hereto as Exhibit

   20).

          100.   Defendants have continued in their animus and ill-will against

   plaintiffs and have continued to deprive plaintiffs of their constitutional rights to

   procedural and substantive due process and to equal protection under the law,

   as guaranteed by the Fourteenth Amendment to the United States Constitution,

   and have continued in their adverse actions against plaintiffs in retaliation for

   plaintiffs’ exercise of their First Amendment rights to petition the government and

   to bring grievances for redress by the courts.



                                            - 21 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.22      Page 22 of 35



          101.   Defendants’ wrongful refusal to process plaintiffs’ application for

   site plan review have denied plaintiffs any economically viable use of the

   property.

          102.   The incidents set forth in the preceding paragraphs are sadly

   just a few examples of the pattern of unlawful harassment,

   unconstitutional activity and wrongful conspiracy which all defendants

   have directed against plaintiffs.

          103.   The actions of defendants, which continue to this day, have violated

   and continue to violate plaintiffs’ rights to procedural due process, substantive

   due process and equal protection under the laws, constitute an unlawful prior

   restraint of speech and unlawful retaliation for plaintiffs’ exercise of their First

   Amendment rights, including the right to petition the government and the courts,

   were unlawfully harassing and coercive, and constitute an unconstitutional and

   unlawful taking of plaintiffs’ property.

          104.   Defendants have conspired together to take unlawful and

   unconstitutional action against plaintiffs.

          105.   Plaintiffs have fundamental property interests in the Property, and

   their right to engage in agricultural activities is a fundamental liberty interest.

          106.   The policy to unlawfully harass and conspire against plaintiffs and

   engage in unlawful activity denying plaintiffs their fundamental and constitutional

   rights has been directed by defendants and their representatives, and has injured

   plaintiffs in their business and property.




                                              - 22 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09                 PageID.23      Page 23 of 35



            107.   Defendants’ activities in unlawfully harassing and conspiring

   against plaintiffs have had the effect of destroying plaintiffs’ goodwill, personally

   and professionally.

            108.   Defendants have taken these wrongful and unconstitutional actions

   against plaintiffs to punish plaintiffs in retaliation for plaintiffs’ insistence on

   exercising their constitutional rights and petitioning the government during the

   public participation portions of Summerfield Township Board and for bringing

   grievances before the Summerfield Township Board.

            109.   Defendants’ harassing and conspiratorial activities are municipal

   actions and are inherently arbitrary, and a deliberate misuse of governmental

   power.

                                           COUNT I

                              Claims Under 42 U.S.C. §1983

            110.   The allegations set forth in paragraphs 1 through 109 are

   incorporated herein by reference.

            111.   Defendants, through their actions, deprived plaintiffs of federally

   protected rights, privileges and immunities provided by federal law and the

   United States Constitution, and plaintiffs are thereby entitled to redress and

   damages for defendants’ violation of plaintiffs’ constitutional rights under 42

   U.S.C. §1983.

            112.   Defendants are each liable, because each acted in violation of

   plaintiffs’ constitutional rights, took no action to remedy the violation of plaintiffs’

   constitutional rights, and instead engaged in further constitutionally-violative acts




                                              - 23 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.24     Page 24 of 35



   after they should have become aware of the unconstitutionality and unlawfulness

   of their actions.

          113.    The policies and actions of defendants were based on

   considerations other than those proper to the good-faith administration of justice,

   and lay far outside the scope of legitimate law enforcement or prosecutorial

   discretion.

          114.    Defendants’ actions constituted a deliberate denial, under color of

   law, of plaintiffs’ federal procedural and substantive due process rights

   guaranteed under the Due Process Clause of the Fourteenth Amendment to the

   United States Constitution, for which plaintiffs seek redress under 42 U.S.C.

   §1983.

          115.    Defendants’ actions constituted a deliberate denial, under color of

   law, of plaintiffs’ federal rights guaranteed under the Equal Protection Clause of

   the Fourteenth Amendment to the United States Constitution, for which plaintiffs

   seek redress under 42 U.S.C. §1983.

          116.    Defendants’ actions constituted a deliberate taking, under color of

   law, in violation of plaintiffs’ federal rights guaranteed under the United States

   Constitution, for which plaintiffs seek redress under 42 U.S.C. §1983.

          117.    Defendants’ actions constituted deliberate retaliation, under color of

   law, against plaintiffs because of plaintiffs’ exercise of their federal rights as

   guaranteed under the First Amendment to the United States Constitution, for

   which plaintiffs seek redress under 42 U.S.C. §1983.




                                            - 24 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.25     Page 25 of 35



          118.   As a direct and proximate result of defendants’ actions, plaintiffs

   have suffered and will continue to suffer injury, including irreparable harm.

          119.   Because of the nature of defendants’ actions, plaintiffs do not have

   a complete and adequate remedy at law, and injunctive relief is required.

          120.   Because defendants acted with an improper motive and intent, in

   an arbitrary and discriminatory manner, and their actions show reckless

   disregard and callous indifference for plaintiffs’ federally protected rights,

   plaintiffs are entitled to exemplary damages as well as all other damages

   incurred, including costs and attorneys fees pursuant to 42 U.S.C. §1988.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order granting the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                          COUNT II

                             Violation of 42 U.S.C. §1985(3)

          121.   The allegations set forth in paragraphs 1 through 120 are

   incorporated herein by reference.

          122.   Defendants acted with common purpose and agreement each with

   the others to deprive plaintiffs of their federal rights guaranteed under the United

   States Constitution and its Amendments, particularly the First Amendment and

   the Due Process and Equal Protection clauses of the Fourteenth Amendment..




                                           - 25 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09             PageID.26      Page 26 of 35



          123.   As set forth in the preceding paragraphs of factual allegations, the

   actions of defendants of which plaintiffs complain in this suit contain acts

   committed in furtherance of the object of said conspiracy.

          124.   Defendants' actions were done in violation of plaintiffs’

   constitutional rights, for which plaintiffs seek redress under 42 U.S.C. §1985.

          125.   As a direct and proximate result of defendants’ actions, plaintiffs

   have suffered and will continue to suffer injury, including irreparable harm.

          126.   Because of the nature of defendants’ actions, plaintiffs do not have

   a complete and adequate remedy at law, and injunctive relief is required.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order granting the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                          COUNT III

                              Violation of 42 U.S.C. §1986

          127.   The allegations set forth in paragraphs 1 through 126 are

   incorporated herein by reference.

          128.   Defendants had knowledge of the wrongful acts conspired to be

   done, mentioned in the preceding paragraphs, and were in a position to prevent

   the commission of said acts, but neglected and/or refused to prevent or aid in the

   prevention of the above mentioned acts.

          129.   Defendants' neglect and/or refusal to prevent or aid in the

   prevention of the above mentioned acts constituted violation of 42 U.S.C. §1986.




                                            - 26 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09               PageID.27      Page 27 of 35



          130.    As a direct and proximate result of defendants’ actions, plaintiffs

   have suffered and will continue to suffer injury, including irreparable harm.

          131.    Because of the nature of defendants’ actions, plaintiffs do not have

   a complete and adequate remedy at law, and injunctive relief is required.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order granting the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                          COUNT IV

                                  Superintending Control

          132.    The allegations set forth in paragraphs 1 through 131 are

   incorporated herein by reference.

          133.    Defendants had a clear legal duty to process plaintiffs’ application

   for site plan review.

          134.    Defendants breached this clear legal duty by failing and/or refusing

   to process plaintiffs’ application for site plan review

          135.    Plaintiffs have suffered damages as a result of defendants’ refusal

   to carry out their ministerial duties and fulfill their clear legal duty to process

   plaintiffs’ application for site plan review.

          136.    Plaintiffs are thereby entitled to an order of superintending control,

   compelling defendants to process plaintiffs’ pending application for site plan

   review in accordance with the procedures in place as of June 29, 2006.




                                             - 27 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.28     Page 28 of 35



          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order of superintending control, compelling defendants to process

   plaintiffs’ application for site plan review under the guidelines in place on June

   29, 2006, as well as the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                          COUNT V

                  Violation of Michigan Freedom of Information Act
                                  MCL 15.231 et seq.

          137.   The allegations set forth in paragraphs 1 through 136 are

   incorporated herein by reference.

          138.   Plaintiffs submitted a request for information to defendants

   regarding the April 29, 2009 meeting, pursuant to the Michigan Freedom of

   Information Act, MCL 15.231 et seq.

          139.   Under the provisions of the Michigan Freedom of Information Act,

   plaintiffs were entitled to any and all records relating to the April 29, 2009

   meeting.

          140.   Defendants wrongfully and unjustifiably refused to produce the

   records which plaintiffs requested pursuant to the Michigan Freedom of

   Information Act.

          141.   Plaintiffs have been forced by defendants wrongfully to expend

   sums to obtain the records which defendants should have produced to plaintiffs

   pursuant to the Michigan Freedom of Information Act.




                                           - 28 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09           PageID.29      Page 29 of 35



          142.   Plaintiffs have been damaged by defendants’ wrongful actions in

   refusing to produce and disclose the records which plaintiffs requested pursuant

   to the Michigan Freedom of Information Act.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order compelling defendants to produce the records which plaintiffs

   requested pursuant to the Michigan Freedom of Information Act, as well as the

   relief requested in the Request for Relief below, and enter a judgment in an

   amount to be determined by this Court and a jury, plus costs, interest and

   attorneys’ fees.

                                       COUNT VI

                      Violation of Michigan Open Meetings Act
                                 MCL 15.261 et seq.

          143.   The allegations set forth in paragraphs 1 through 142 are

   incorporated herein by reference.

          144.   Defendants, by meeting in secret on April 29, 2009 and taking

   action in accordance with decisions made at that meeting, without posting any

   notice of a special meeting, or keeping minutes of the meeting, or voting in public

   to go into closed session pursuant to the provisions of the Michigan Open

   Meetings Act, MCL 15.261 et seq., among other others, violated the Michigan

   Open Meetings Act.

          145.   Plaintiffs have standing to bring this action against defendants

   pursuant to MCL 15.271.

          146.   Plaintiffs have been damaged by defendants’ violation of the

   Michigan Open Meetings Act.



                                          - 29 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.30     Page 30 of 35



           147.   Because of defendants’ violations of the Michigan Open Meetings

   Act, plaintiffs seek injunctive relief and damages, pursuant to MCL 15.273.

           WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order finding defendants in violation of the Michigan Open Meetings Act,

   as well as the relief requested in the Request for Relief below, and enter a

   judgment in an amount to be determined by this Court and a jury, plus costs,

   interest and attorneys’ fees.

                                        COUNT VII

                        Violation of Michigan Right To Farm Act
                                  MCL 286.741 et seq.

           148.   The allegations set forth in paragraphs 1 through 147 are

   incorporated herein by reference.

           150.   Under the Michigan Right to Farm Act, MCL 286.471 et seq., a

   municipality cannot enact, maintain or enforce an ordinance, regulation or

   resolution which conflicts with the Act in any manner.

           151.    Under the Michigan Right to Farm Act, a municipality cannot

   restrict or impose additional conditions on a farm’s or farm operation’s

   agricultural activities.

           152.   Defendants, through the Summerfield Township Zoning Ordinance,

   have improperly attempted to regulate a farm’s or farm operation’s agricultural

   activities.

           153.   Defendants have used the Summerfield Township Zoning

   Ordinance to prevent plaintiffs from engaging in agricultural activities, in violation

   of the Michigan Right to Farm Act.



                                           - 30 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.31     Page 31 of 35



          154.   As a direct and proximate result of defendants’ actions, plaintiffs

   have suffered and will continue to suffer injury, including irreparable harm.

          155.   Because of the nature of defendants’ actions, plaintiffs do not have

   a complete and adequate remedy at law, and injunctive relief is required.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order granting the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                          COUNT VIII

                                          Defamation

          156.   The allegations set forth in paragraphs 1 through 155 are

   incorporated herein by reference.

          157.   Defendants have each made statements about plaintiffs orally and

   in writing to third parties which are false and defamatory, as set forth in detail in

   the preceding paragraphs of factual allegations and which are incorporated

   herein as if fully re-alleged under this Count.

          158.   Defendants knew that the statements which they have made were

   false, and have done so specifically to hold plaintiffs up to public scorn, ridicule

   and embarrassment, both personally and professionally.

          159.   Defendants knowingly, willfully and without privilege to do so did

   publish the foregoing statements to third parties.

          160.   Defendants were both negligently and knowingly at fault in the

   publication of these false and defamatory statements.




                                            - 31 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09                PageID.32      Page 32 of 35



          161.    Defendants' oral and written statements concerning plaintiffs and

   their business constitute actionable libel and slander/defamation per se.

          162.    Defendants' oral and written statements have caused plaintiffs to

   suffer injury, including but not limited to, interfering with its relationships with third

   parties.

          WHEREFORE, plaintiffs respectfully request that this Honorable Court

   enter an order granting the relief requested in the Request for Relief below, and

   enter a judgment in an amount to be determined by this Court and a jury, plus

   costs, interest and attorneys’ fees.

                                  REQUEST FOR RELIEF

          Plaintiffs respectfully request that this Honorable Court enter a judgment in

   an amount to be determined by this Court and a jury, plus costs, interest,

   exemplary damages, and attorneys’ fees, and that this Honorable Court enter an

   order that:

          A.      Preliminarily and permanently enjoins defendants, and their agents,

   successors, representatives, assigns or any other person or entity acting for or

   on their behalf, from taking plaintiffs’ property unconstitutionally, from violating

   plaintiffs’ rights to procedural and substantive due process, from denying

   plaintiffs equal protection under the laws and from retaliating against plaintiffs for

   their petitioning the government and/or seeking redress from courts for their

   grievances;

          B.      Preliminarily and permanently enjoins defendants, and their agents,

   successors, representatives, assigns or any other person or entity acting for or




                                             - 32 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09                  PageID.33   Page 33 of 35



   on their behalf, from violating plaintiffs’ rights under the United States

   Constitution and its Amendments, including First and Fourteenth Amendments;

           C.     Preliminarily and permanently enjoins defendants, and their agents,

   successors, representatives, assigns or any other person or entity acting for or

   on their behalf, from conspiring to violate plaintiffs’ rights;

           D.     Preliminary and permanently enjoins defendants, and their agents,

   successors, representatives, assigns or any other person or entity acting for or

   on their behalf, from violating the Michigan Open Meetings Act, MCL 15.261 et

   seq.;

           E.     Compels defendants to process plaintiffs’ pending application for

   site plan review for the Property;

           F.     Compels defendants to produce to plaintiffs the records which they

   requested pursuant to the Michigan Freedom of Information Act, MCL 15.231 et

   seq.;

           G.     Awards plaintiffs, pursuant to 42 U.S.C. §1988, their costs, attorney

   fees, interest, lost profits, and all other actual, compensatory, incidental,

   consequential, and exemplary damages as against all defendants, jointly and

   severally;

           H.     Awards plaintiffs, pursuant to the Michigan Freedom of Information

   Act and Michigan Open Meetings Act, their costs and attorneys fees for having to

   bring this action;

           I.     Orders defendants to Show Cause why the preliminary injunctive

   relief requested herein should not be granted; and




                                             - 33 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09              PageID.34     Page 34 of 35



          J.     Awards any other and further relief to plaintiffs as this Court deems

   just and proper.



                                              /s/ Cindy Rhodes Victor___________
                                              CINDY RHODES VICTOR (P33613)
                                              The Victor Firm, PLLC
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                                              Sterling Heights, Michigan 48310
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                                              cvictor@victorfirm.com

                                              Attorneys for Plaintiffs
   Dated: June 29, 2009                       FMIO, Inc. and Richard A. Garst



                                 DEMAND FOR JURY

          Plaintiffs FMIO, Inc. and Richard A. Garst, by and through their attorneys,

   The Victor Firm, PLLC, hereby demand a trial by jury on their causes of action

   against defendants the Township of Summerfield, Michigan, Kevin R. Iott, in his

   official and individual capacities, Tammy Bleaska, in her official and individual

   capacities, Joan Wiederhold, in her official and individual capacities, Dale

   Wagenknecht, in his official and individual capacities, James V. Seegert, in his

   official and individual capacities, Amy Reiter, in her official and individual

   capacities, Richard Koraleski, in his official and individual capacities, David

   Grude, in his official and individual capacities, Joseph Stranger, in his official and

   individual capacities, Linda Diesing, in her official and individual capacities, and

   Michael Strahan, in his official and individual capacities, jointly and severally.




                                           - 34 -
Case 2:09-cv-12561-BAF-MKM ECF No. 1 filed 06/29/09   PageID.35    Page 35 of 35




                                      /s/ Cindy Rhodes Victor___________
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                                      Attorneys for Plaintiffs
   Dated: June 29, 2009               FMIO, Inc. and Richard A. Garst




                                    - 35 -
